Case 1:07-cr-00388-CG-B          Doc# 54      Filed 06/18/08      Page 1 of 1      PageID# 196




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        SOUTHERN DISTRICT OF ALABAMA
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
V.                                               )    CR. NO. 07-00388-CG
                                                 )
KARA SHEREE MCILWAIN,                            )
                                                 )
       Defendant.                                )


                                            ORDER

       This matter came on for a bond revocation hearing on June 18, 2008. The defendant

admitted to violating her conditions of supervision. Therefore, the court finds that the defendant

has violated her conditions of release, the conditions entered on November 7, 2007 (Doc. 22) are

hereby REVOKED, and the defendant is REMANDED to the custody of the U.S. Marshal

pending sentencing. As the parties did not object to the court’s suggestion that the sentencing be

moved up from the August 7, 2008 date, sentencing is hereby RESCHEDULED for

Wednesday, July 9, 2008 at 1:00 p.m., to be held in Courtroom 2B, United States Courthouse,

Mobile, Alabama.

       The United States Marshal is ORDERED to produce the defendant for said sentencing

hearing.

       DONE and ORDERED this the 18th day of June, 2008.


                                             /s/ Callie V. S. Granade
                                             CHIEF UNITED STATES DISTRICT JUDGE
